Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 1 of 13 PageID# 806




                         THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

R.M.S. TITANIC, INC.,
Successor in interest to Titanic Ventures,
limited partnership,

       Plaintiff,

v.                                                          Civil Action No. 2:93-cv-902

The Wrecked and Abandoned Vessel, . . .
believed to be the R.M.S. TITANIC, in rem,

       Defendant.

             MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE

       The Official Committee of Equity Security Holders (the “Equity Committee”), a party-in-

interest in the Chapter 11 case of Premier Exhibitions, Inc. (“Premier”) and its subsidiaries,1

pending in the United States Bankruptcy Court for the Middle District of Florida (the

“Bankruptcy Court”), Case No. 3:16-bk-02230-PMG (the “Bankruptcy Case”) move the Court

pursuant to Rule 24(a)(2) for an order granting it leave to intervene in this case as an interested-

party. R.M.S. Titanic, Inc. (“RMST”) is a subsidiary of Premier, a debtor in its own chapter 11

case, and is the Plaintiff in the above-captioned case.

       The Equity Committee may intervene as of right under Rule 24(a). That Rule requires a

court to permit an entity to intervene if that entity “claims an interest relating to the property or



1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922);
Premier Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101);
Premier Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier
Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the
“Debtors”). The Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 2 of 13 PageID# 807




transaction that is the subject of the action, and is so situated that disposing of the action may as

a practical matter impair or impede [that entity’s] ability to protect its interest, unless existing

parties adequately represent that interest.” Fed. R. Civ. P. 24(a)(2).

       In the alternative, the Court should also permit the Equity Committee to intervene

pursuant to Rule 24(b). That Rule provides that, upon a timely application, anyone may be

permitted to intervene in an action when the applicant has a claim or defense that shares with the

main action a common question of law or fact. Fed. R. Civ. P. 24(b)(1)(B).

       As set forth more fully below, the Equity Committee represents the interests of equity

holders of in the Bankruptcy Case. Premier’s motions, including those of its subsidiaries, as well

as forthcoming motions from the Equity Committee in connection with its Equity Committee

Plan (as defined below), in the Bankruptcy Court and this Court, will directly affect the interests

of those equity holders.

                                            BACKGROUND

       A.      The French Collection and the American Collection

       RMST’s predecessor in interest, Titanic Ventures Limited Partnership (the “Company”),

with the assistance of Institut Francais de Recherche Pour l’Exploitation de la Mer, the French

government’s oceanographic institute, conducted a joint expedition to the wreck of the RMS

TITANIC in 1987. Over the course of 32 dives during that expedition, the Company recovered

approximately 2100 artifacts from the Titanic wreck site (the “French Artifacts” or the “French

Collection”). On October 20, 1993, an Administrator in the French Office of Maritime Affairs

(Ministry of Equipment, Transportation and Tourism) awarded the Company title to the French

Artifacts. See R.M.S. Titanic, Inc. v. The Wrecked and Abandoned Vessel, 435 F.3d 521, 524 (4th

Cir. 2006).




                                                 2
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 3 of 13 PageID# 808




       In 1993, RMST conducted an additional research and recovery expedition to the wreck of

the Titanic, and on August 26, 1993, commenced an in rem action in this Court against the

artifacts recovered in the 1993 expedition, and the wreck itself. Id. A few months later, this

Court entered an Order which assumed in rem jurisdiction over the artifacts recovered by the

Company in 1993, as well as the wreck itself, and declared the Company to be the salvor-in-

possession of the wreck and wreck site. Id. RMST remains salvor-in-possession of the Titanic

wreck site today. RMST conducted further salvage operations at the Titanic wreck site in 1994,

1996, 1998, 2000, and 2004 and recovered over 3000 additional artifacts (the artifacts recovered

in 1993, 1994, 1996, 1998, 2000, and 2004 shall be referred to as the “American Artifacts” or the

“American Collection”).

       In 2004, RMST filed a “Motion for Salvage and/or Finds Award” with this Court. Id. at

525. The motion sought an award of title to the American Artifacts; the motion excluded any

requests for compensation as to the French Artifacts, for which title had already transferred to the

Company pursuant to the French administrator’s 1993 award. Id. By Order dated July 2, 2004,

this Court refused to recognize the previous decision by the French Administrator, effectively

stripping the Company of title to the French Artifacts. R.M.S. Titanic, Inc. v Wrecked &

Abandoned Vessel, 323 F. Supp. 2d 724 (E.D. Va. 2004). In refusing to recognize the French

Administrator’s decision to award the French Artifacts to RMST, this Court concluded that an

application of the principles of comity did not justify this Court’s recognition of the French

administrative proceeding. Id. at 733. This Court directed RMST to prepare a motion for

salvage award on the entire collection of Titanic artifacts — the French Artifacts and the

American artifacts.




                                                 3
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 4 of 13 PageID# 809




       RMST appealed the July 2, 2004 Order to the United States Court of Appeals for the

Fourth Circuit. On January 31, 2006, the Fourth Circuit vacated this Court’s Order with respect

to the ownership of the French Artifacts, holding that this Court “does not have in rem

jurisdiction over the French artifacts, or, absent in rem jurisdiction, any other jurisdictional basis

upon which to issue a declaratory judgment” and remanded the case to this Court for

administration of the American Artifacts. R.M.S. Titanic, Inc., 435 F.3d at 528. This decision

effectively reconfirmed the French Administrator’s transfer of title to RMST of the French

Artifacts, and established as the law of the case that this Court’s subject matter jurisdiction

extends only to the American Artifacts and the wreck itself, but not to the French Artifacts.

       In August 2010, this Court granted RMST a salvage award for its efforts in recovering

and restoring the American Artifacts and determined the award to be 100% of the fair market

value of the American Artifacts, or approximately $110 million. R.M.S. Titanic, Inc. v. Wrecked

& Abandoned Vessel, 742 F. Supp. 2d 784, 809 (E.D. Va. 2010). In that Order, this Court

reserved the right to determine the manner in which to pay the award (i.e. by judicial sale of the

artifacts, or by an in specie award of title). Id. In keeping with prior Orders of this Court, RMST

and the United States Government, through the United States Attorney, negotiated and drafted

“Covenants and Conditions for the Future Disposition of Objects Recovered from the RMS

TITANIC by RMS Titanic, Inc. Pursuant to an In Specie Salvage Award Granted by the United

States District Court for the Eastern District of Virginia” (the “Covenants”). The Covenants are

attached as Exhibit A to the 2010 Order. See R.M.S. Titanic, Inc., 742 F. Supp. 2d at 809-824.

       In August 2011, this Court essentially granted RMST an in specie salvage award, which

conveyed to RMST title to the American Artifacts.             R.M.S. Titanic, Inc. v. Wrecked &




                                                  4
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 5 of 13 PageID# 810




Abandoned Vessel, 804 F. Supp. 2d 508 at 509 (E.D. Va. 2011). Title to the American Artifacts

is “fully subject to” the Covenants. Id.

B.        The RMST Bankruptcy and Motion to Sell

          On or about June 14, 2016, Premier and its subsidiaries, including RMST, filed in the

Bankruptcy Court a voluntary petition for relief under Chapter 11 of the Bankruptcy Code.

Later, on June 20, 2016, RMST filed a motion (the “First Sale Motion”) with the Bankruptcy

Court requesting an order pursuant to sections 105 and 363 of the Bankruptcy Code (11 U.S.C.

§ 101 et seq., as amended the “Bankruptcy Code”) and Rules 6003, 6004 and 9014 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). RMST’s First Sale Motion requested

authorization to market and sell certain Titanic artifacts from the French Collection free and clear

of liens, claims and interests. RMST, however, did not serve France with the First Sale Motion.

          Ultimately, the Bankruptcy Court denied the First Sale Motion without prejudice on the

grounds, among other things, that the French Government may assert an “interest” in the French

Artifacts within the meaning of Bankruptcy Code §363(f). [BK CT ECF No. 102].2 Thereafter,

the Debtors commenced an adversary proceeding, styled RMS Titanic, Inc. v French Republic

a/k/a/Republic of France, Adversary Proceeding No. 3:16-ap-00183-PMG, seeking declaratory

relief that France has no interest in the French Artifacts. On or about September 29, 2017, the

Bankruptcy Court entered judgment in favor of RMST that France has no interest in the French

Artifacts. [BK CT AP ECF No. 67].3

          The Equity Committee was appointed, pursuant to Bankruptcy Code § 1102(a), as a

fiduciary to represent the interests of all equity holders in the Debtors and their estates. See 11



2
    A copy of such order is attached hereto as Exhibit A.
3
    A copy of such order is attached hereto as Exhibit B.



                                                  5
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 6 of 13 PageID# 811




U.S.C. § 1103(c). In that capacity, on or about June 1, 2018, the Equity Committee filed in the

Bankruptcy Court its Chapter 11 Plan of Reorganization Proposed By The Official Committee

Of Equity Security Holders Of Premier Exhibitions, Inc (the “Equity Committee Plan”) [BK CT

ECF No. 1045]4 and its Disclosure Statement To Accompany Chapter 11 Plan Of Reorganization

Proposed By The Official Committee Of Equity Security Holders Of Premier Exhibitions, Inc.

(the “Equity Committee Disclosure Statement”) [BK CT ECF No. 1044].5 Counsel to the Equity

Committee conferred with counsel to RMST and agreed that RMST would file a Periodic Report

with this Court to which RMST would attach a copy of the Equity Committee Plan and the

Equity Committee Disclosure Statement to keep this Court apprised of the filing of those

pleadings. RMST filed that Periodic Report on or about June 12, 2018.

          Among other things, the Equity Committee Plan provides that “[a]ny transfer of the

American Artifacts to a successor trustee and salvor shall be subject to approval of the District

Court and shall be made only on notice to the United States Department of Commerce, National

Oceanic and Atmospheric Administration and all other parties entitled to notice in the . . . US

[District Court] Litigation.” Equity Committee Plan, ¶ VI. C., at 23. Moreover, the Equity

Committee Plan “Effective Date” is contingent upon, among other things, entry of an order

approving such transfer by the District Court. Equity Committee Plan, ¶ I. A. 32, at 6.

          On or about July 25, 2018, the Bankruptcy Court held a status conference to consider,

among other things, the procedure for consideration by the Bankruptcy Court of the Equity




4
    A copy of such order is attached hereto as Exhibit C.
5
    A copy of such order is attached hereto as Exhibit D.



                                                  6
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 7 of 13 PageID# 812




Committee Plan and Disclosure Statement, a plan and disclosure statement filed by the Official

Committee of Unsecured Creditors,6 and a sale motion filed by Premier, RMST’s parent.

       On August 3, 2018, the Bankruptcy Court issued an amended order [BK CT ECF

No. 1151] in the Bankruptcy Case stating, among other things, “the parties should take the steps

that they believe are necessary for approval of the proposed sales by the District Court.” A copy

of such order is attached hereto as Exhibit E. In the same order, the Bankruptcy Court stated:

       The Titanic artifacts are subject to administration by the United States District
       Court for the Eastern District of Virginia and are also subject to the “Covenants
       and Conditions for the Future Disposition of Objects Recovered from the RMS
       Titanic by RMS Titanic, Inc. Pursuant to an In Specie Salvage Award Granted by
       the United States District Court for the Eastern District of Virginia.”

                                         *       *       *

       Because the Debtor’s assets are also subject to the jurisdiction of the District
       Court in Virginia, the parties should move in that Court for approvals or
       determinations required by the District Court to complete the proposed
       transactions. See, for example, In re Aqua Pesca, LLC, 2018 WL 3031085, at 4
       (Bankr. D. Alaska) (A sale order directed the parties to take such “steps as are
       necessary or appropriate to obtain” the approval of the applicable licensing
       authority).

       Pursuant to and in accordance with the order from the Bankruptcy Court, counsel for the

Equity Committee files this motion to intervene in anticipation that the Equity Committee will

seek relief from this Court in connection with the Equity Committee Plan.

                                          ARGUMENT

       To intervene as of right pursuant to Fed. R. Civ. P. 24(a)(2), the Equity Committee must

show that: (1) its motion is timely; (2) the party must have a recognized interest in the subject

matter of the litigation; (3) disposition of the action may impair or impede the movant’s ability to



6
  RMST submitted the Creditors Committee Plan and Disclosure Statement to this Court as
attachments to a Periodic Report filed by RMST.



                                                 7
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 8 of 13 PageID# 813




protect its interest; and (4) the interest must not be adequately protected by the existing parties.

Houston General Ins. Co. v. Moore, 193 F.3d 838, 839 (4th Cir. 1999). See also Richman v.

First Woman’s Bank, 104 F.3d 654, 658-59 (4th Cir. 1997). Rule 24 is construed liberally, and

any doubts should be resolved in favor of the intervener. See Arakaki v. Cayetano, 324 F.3d

1078, 1083 (9th Cir.) cert. denied 540 U.S. 1017 (2003). Intervenors of right “assume the status

of full participants in a lawsuit and are normally treated as if they were original parties once

intervention is granted.” Columbus-America Discovery Group v. Atlantic Mut. Ins. Co., 974

F.2d 450 (4th Cir. 1992) (quoting District of Columbia v. Merit Systems Prot. Bd., 762 F.2d 129,

132 (D.C. Cir. 1985)). A proposed intervenor has a “minimal burden of showing that the

existing parties cannot adequately represent its interest.”     Georgia v. U.S. Army Corps of

Engineers, 302 F.3d 1242, 1259 (11th Cir. 2002).

       A.      The Equity Committee’s Motion to Intervene Is Timely

       Whether a motion to intervene is timely is a “cardinal” consideration under Rule 24 and

is committed to the discretion of the trial court. Houston General Ins., 193 F.3d at 839. In

determining timeliness, the court should review how far the suit has progressed, the prejudice

which delay might cause other parties, and any reasons for any tardiness in moving to intervene.

Gould v. Alleco, Inc., 883 F.2d 281, 286 (4th Cir. 1989), cert. denied, 493 U.S. 1058 (1990). On

June 1, 2018, the Equity Committee filed its Plan and its Disclosure Statement. The Equity

Committee is not permitted to solicit votes for acceptance of its Plan until its Disclosure

Statement has been approved by the Bankruptcy Court. The hearing to approve the Disclosure

Statement is scheduled for August 30, 2018. If the Bankruptcy Court approves the Disclosure

Statement, it will schedule a date for a hearing whether to confirm the Equity Committee Plan.

The Equity Committee intends to file a motion with this Court promptly thereafter. Thus, within




                                                 8
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 9 of 13 PageID# 814




the next few weeks the Equity Committee expects to seek relief from this Court in connection

with the Equity Committee Plan (as it may be amended). Accordingly, this Motion to Intervene

is timely.

          B.     The Equity Committee Has a Direct and Substantial Interest in the Res

          A potential intervenor must demonstrate a “direct, substantial and legally protectable”

interest in the property or transaction that is the subject of the suit. See, generally, New Orleans

Pub. Serv., Inc. v. United Gas Pipe Line Co., 732 F.2d 452, 464 (5th Cir.), cert. denied, 469 U.S.

1019 (1984). The Equity Committee meets that requirement.

          The Equity Committee has an undeniable interest in the res that is the subject of this

admiralty action.     The entity that holds these assets, RMST, is the subsidiary of Premier.

Premier has determined to sell substantially all its assets, and the stock of RMST, under a sale

motion pending in the Bankruptcy Court. See, Debtors’ Motion for Entry of An Order (A)

Approving Competitive Bidding and Sale Procedures; (B) Approving Form and Manner of

Notices; (C) Approving Form of Asset Purchase Agreement; (D) Approving Break Up-Fee and

Expense Reimbursement; (E) Scheduling Auction and Hearing To Consider Final Approval of

Sale, Including Rejection or Assumption and Assignment of Related Executory Contracts And

Unexpired Leases; (F) Authorizing Sale Of The Transferred Assets Free and Clear of All Liens,

Claims, Encumbrances, And Interests; And (G) Approving Settlement With The PacBridge

Parties; And (H) Granting Related Relief (the “Sale Motion”). [BK CT ECF No. 1055].7 RMST

also has presented that sale to this court for approval. See, Plaintiff's Motion to Approve Asset

Purchase Agreement and Authorize the Sale Of 100% Of RMST's Stock to Premier Acquisition




7
    A copy of such order is attached hereto as Exhibit F.



                                                   9
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 10 of 13 PageID# 815




Holdings LLC Or Other Qualified Purchaser As Approved By The Bankruptcy Court (the

“Approval Motion”) [ECF No. 448].

       The equity holders of Premier have a very specific pecuniary interest in the Sale Motion

in the Bankruptcy Court and in the Approval Motion in this Court, as well as the proposed

motion to be filed in conjunction with seeking approval from this Court for the Equity

Committee Plan. The Equity Committee is the fiduciary appointed to represent those interests

under the Bankruptcy Code. Intervention in this case will permit the Equity Committee to do so.

Accordingly, the Equity Committee has an interest relating to the property or transaction, which

is the subject of this Court’s consideration. Thus, permitting the Equity Committee to intervene

is appropriate pursuant to Rule 24(a)(2).

       C.      The Equity Committee’s Interest In the Litigation May be Impaired Absent
               Intervention

       The Equity Committee’s interest would be impaired if it is not permitted to appear in this

Court with respect to the sale of the American Artifacts under the Equity Committee Plan, which

requires this Courts approval of any such sale. The Equity Committee’s interest in such sale and

in its Equity Committee Plan may be impaired absent intervention in this suit, given the Court’s

jurisdiction over, among other things, certain artifacts related to RMST’s motion to sell in the

Bankruptcy Court.

       D.      The Equity Committee’s Interest Is Not Adequately Protected by the Parties

       The burden of establishing inadequate representation is “minimal.” Trbovich v. UMW,

404 U.S. 528, 538 n.10 (1972). Premier and RMST are adverse to the Equity Committee’s Plan

and will not represent the interests of equity holders in connection with that Plan or the transfer

of assets under this Court's jurisdiction.




                                                10
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 11 of 13 PageID# 816




       E.      In the Alternative, Permissive Intervention Is Also Appropriate

       If the Court is not inclined to permit the Equity Committee to join as of right, the Court

should permit the Equity Committee to intervene pursuant to Fed. R. Civ. P. 24(b). That Rule

provides that, upon a timely application, anyone may intervene in an action when the applicant

has a claim or defense that shares with the main action a common question of law or fact. Fed.

R. Civ. P. 24(b)(1)(B). In addition, the law of this case supports liberal standing. See R.M.S.

Titanic, Inc. v. The Wrecked and Abandoned Vessel, 920 F. Supp. 96 (E.D. Va. 1996).

       Here, the Equity Committee has an interest in ensuring that the French Artifacts are

determined to be property of the estate and, upon such determination, that these assets are

properly administered. Therefore, the Equity Committee has a claim that shares “a common

question of law or fact” with the relief sought by RMST in its motion to sell certain of the French

Artifacts. Moreover, intervention by the Equity Committee will not unduly delay or prejudice

the adjudication of the original parties’ rights in this case. See Fed. R. Civ. P. 24(b)(3).

Accordingly, the Equity Committee should be permitted to intervene in this case.

                                        CONCLUSION

       For the foregoing reasons, the Court should grant the Equity Committee’s motion to

intervene and grant such further and other relief as the Court may deem just and proper.




                                                11
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 12 of 13 PageID# 817




Dated: August 17, 2018.

                             Respectfully submitted,

                             THE OFFICIAL COMMITTEE OF
                             EQUITY SECURITY HOLDERS OF
                             PREMIER EXHIBITIONS, INC.

                             By Counsel:

                             /s/ Jeffrey G. Gilmore
                             Jeffrey G. Gilmore (VSB No. 21971)
                             John M. Neary (VSB No. 84984)
                             AKERMAN LLP
                             750 Ninth Street, N.W., Suite 750
                             Washington, D.C. 20001
                             Telephone: (202) 393-6222
                             Facsimile: (202) 393-5959
                             Email: jeff.gilmore@akerman.com
                             Email: john.neary@akerman.com

                             Jacob A. Brown (Pro Hac Vice Application Forthcoming)
                             Mary K. Fackler (Pro Hac Vice Application Forthcoming)
                             AKERMAN LLP
                             50 North Laura Street, Suite 3100
                             Jacksonville, FL 32202
                             Telephone: (904) 798-3700
                             Fax: (904) 798-3730
                             Email: jacob.brown@akerman.com
                             Email: katherine.fackler@akerman.com

                             Peter J. Gurfein (Pro Hac Vice Application Pending)
                             LANDAU GOTTFRIED & BERGER LLP
                             1801 Century Park East, Suite 700
                             Los Angeles, CA 90067
                             Telephone: (310) 691-7374
                             Fax: (310) 557-0056
                             Email: pgurfein@lgbfirm.com




                                      12
Case 2:93-cv-00902-RBS Document 472 Filed 08/17/18 Page 13 of 13 PageID# 818




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of August, 2018, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System which will then send a notification of

such filing (NEF) to the following:

Brian A. Wainger                                Robert W. McFarland
KALEO LEGAL                                     MCGUIRE WOODS LLP
4456 Corporation Lane, Suite 135                101 West Main Street, Suite 9000
Virginia Beach, VA 23462                        Norfolk, VA 23510
Telephone: (757) 965-6804                       Telephone: (757) 640-3700
Email: bwainger@kaleolegal.com                  Email: rmcfarland@mcguirewoods.com
Counsel for Plaintiff R.M.S. Titanic, Inc.,     Counsel for Plaintiff R.M.S. Titanic, Inc.,
successor in interest to Titanic Ventures,      successor in interest to Titanic Ventures,
limited partnership                             limited partnership

Kent P. Porter
United States Attorney Office
101 West Main Street, Suite 8000
Norfolk, VA 23510
Telephone: (757) 441-6331
Email: kent.porter@usdoj.gov
Counsel for Amicus United States of America

                                                /s/ Jeffrey G. Gilmore
                                                Jeffrey G. Gilmore
                                                AKERMAN LLP
                                                750 Ninth Street, N.W., Suite 750
                                                Washington, D.C. 20001
                                                Telephone: (202) 393-6222
                                                Email: jeff.gilmore@akerman.com
                                                Counsel for the Official Committee of Equity
                                                Security Holders of Premier Exhibitions, Inc.




                                               13
